     Case 1:21-cr-00040-TNM Document 562 Filed 03/07/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00040-TNM
                                 )
DAVID MEHAFFIE,                  )
                                 )
                                 )
               Defendant         )
                                 )



      DEFENDANT DAVID MEHAFFIE’S RESPONSE TO COURT’S
      REQUEST FOR AN ACCOUNTING OF ONLINE FUNDRAISING
              BY THE FAMILY OF DAVID MEHAFFIE




                                     1
       Case 1:21-cr-00040-TNM Document 562 Filed 03/07/23 Page 2 of 2




      NOW COMES Defendant David Mehaffie by and through his undersigned

counsel of record, William L. Shipley, Esq., responding to this Court’s request

that Defendant Mehaffie provide an accounting with respect to funds raised

through the GiveSendGo.com relating to the charges in this matter. The

information herein is the best approximation of an accounting that could be

accomplished in the time constraints associated with the Court’s Request.

      A “GiveSendGo” fundraising page was created by Kym Mehaffie and all

funds paid by the site went to a bank account controlled by Kym Mehaffie.

      Through March 6, 2023, donations to the site totaled $20,252. The

entity that operates the GiveSendGo site deducts fee of small percentage from

each donation for website hosting services and processing the contributions.

The funds received by Kym Mehaffie totaled $19,909.25. All funds donated to

the site have been delivered and no additional funds are anticipated.

      The Mehaffies paid three attorneys during the course of the criminal

case. The combined total paid to those three attorneys was $21,350 – a sum

greater than the funds received from online donations. The difference of

slightly less than $1500 was paid by the Mehaffies from personal funds.


Dated: March 8, 2023                 Respectfully submitted,

                                     /s/ William L. Shipley
                                     William L. Shipley, Jr., Esq.
                                     PO BOX 745
                                     Kailua, Hawaii 96734
                                     Tel: (808) 228-1341
                                     Email: 808Shipleylaw@gmail.com
                                     Attorney for Defendant




                                        2
